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001-096-00
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

DAVID BOLING
Plaintift`

v. No. 1-05-1129 T An

 

GIBSON COUNTY, GlBSON COUNTY
SHERIFF’S DEPT., JOSEPH SHEPHERD,

OF GIBSON COUNTY, CITY OF MEDINA,
ClTY OF MEDINA POLICE DEPARTMENT,
JAl\/IES BAKER CHIEF OF POLICE OF
MEDINA, CHAD DAVIS INVESTIGATOR OF
MEDINA POLICE DEPT. MADISON COUNTY, )
MADISON COUNTY SHERIFF’S DEPT. DAVI`D )

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L. WOOLFORK, SHERIFF OF MADISON )

COUNTY, TOMl\/IY G. BUNTIN DEPUTY OF )

MADISON COUNTY SHERIFF’S DEPT. AND )

JOHN AND/OR JANE DOES, )

)

Det`endants )
ORDER GRANTTNG

DEFENDANT GIBSON COUNTY, SHERIFF JOSEPH SHEPHERD, MADISON COUNTY, SHERIFF
DAVID WOOLFORK, AND TOMMY BUNTIN’S
MOTION FOR EXTENSION OF TIME ]N WHICH TO FILE AN ANSWER

 

Defendants Gibson County, Sheriff Joseph Shepherd, Madison County, Sheriff David Wooll`ork,
and Tommy Buntin move the Court for an extension of time in which to file an answer to Plaintifi`s
Complaint. These Defendants seeks an order allowing them to file an answer within ten (l 0) days after
the entry of the Court’s order regarding Plaintit`t"s pending motion for leave to file an amended complaint

An extension of time is appropriate so that Defendants will not have to tile an answer and then, if
the amended complaint is allowed, have to file an answer addressing Plaintit`t"s amendments To do so
would be inconvenient and waste resources These Defendants have consulted with counsel for Plaintii`f

and Co-Defendants and there is no objection to such an extension Accordingly, Defendants are ordered

Th|e document entered on the docket sheet ln compliance

with sure se and:or_rs (a} FncP on , § ~ 01 ‘ 05

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to file an answer within ten (10) days of the entry of an Order regarding Plaintit`t"s motion for leave to file

an amended complaint

IT IS SO ORDERED. n 5
.=§.”/Am aaa

Judge

/U»< rwt" 30' Zom’
Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:05-CV-01129 Was distributed by faX, mail, or direct printing on
Scptcmber 1, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

